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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         -------------------------------------------------------------- x
         In re                                                          : Chapter 15
                                                                        :
                                                     1
         Crystallex International Corporation                           : Case No. 11-14074 (LSS)
                                                                        :
         Debtor in a Foreign Proceeding.                                : Hearing Date: June 25, 2018 at 3:00 p.m. (ET)
                                                                          Objection Deadline: June 18, 2018 at 4:00 p.m. (ET)
                                                                        :
         -------------------------------------------------------------- x

                MOTION FOR ENTRY OF AN ORDER RECOGNIZING AND ENFORCING
                 THE CCAA FIFTH EXTENSION AND NINTH AMENDMENT ORDER

                           Crystallex International Corporation, in its capacity as the court-appointed foreign

         representative (the “Foreign Representative”) for the above-captioned debtor (the “Debtor”) in a

         proceeding (the “Canadian Proceeding”) under Canada’s Companies’ Creditors Arrangement

         Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”), pending before the Ontario Superior Court

         of Justice (Commercial List) (the “Canadian Court”), respectfully submits this motion (the

         ”Motion”) requesting entry of an order, substantially in the form annexed hereto as Exhibit I

         (the “Proposed Order”), recognizing and enforcing the Canadian Court’s Order dated May 9,

         2018 (the “CCAA Fifth Extension and Ninth Amendment Order”) 2 that, among other things, (a)

         requests that this Court grant recognition of the CCAA Fifth Extension and Ninth Amendment

         Order; (b) approves a fifth extension and ninth amendment (the “Ninth Credit Agreement

         Amendment”) to the Senior Secured Credit Agreement (as amended, the “DIP Credit

         Agreement”),3 by and between the Debtor, as borrower, and Luxembourg Investment Company


         1
                  The last four digits of the Debtor’s United States taxpayer identification number are 2628. The Debtor’s
                  executive headquarters are located at 8 King Street East, Suite 1201, Toronto, Ontario, M5C 1B5, Canada.
         2
                  A copy of the Fifth Extension and Ninth Amendment Order is annexed hereto as Exhibit II.
         3
                  A copy of a Ninth Credit Agreement Amendment is annexed hereto as Exhibit III.



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         31 S.à.r.l., in its capacity as successor lender through assignment by Tenor KRY Coöperatief

         U.A., which, in turn, was the assignee of Tenor Special Situation Fund I, LLC, the original

         lender (the “DIP Lender”); and (c) extends the period during which no proceeding or

         enforcement process in any court or tribunal may be commenced or continued against or in

         respect of the Debtor (the “Stay Period”), which was originally put in place by the Canadian

         Court by order entered on December 23, 2011 (the “Initial Order”), to October 31, 2018. In

         support of this Motion, the Foreign Representative relies upon: (a) the Declaration of Robert A.

         Fung in Support of: (I) Verified Petition Under Chapter 15; (II) Motion for Provisional and

         Final Relief in Aid of Foreign Proceeding; and (III) Motion to Establish Certain Procedures in

         Connection with Filing of Verified Petition Under Chapter 15, dated December 23, 2011

         [Docket No. 2] (the “Fung Declaration”); and (b) the Affidavit of Robert Fung sworn April 23,

         2018 (the “Fung Affidavit”), attached hereto as Exhibit IV. In further support of the relief

         requested herein, the Foreign Representative respectfully represents as follows:

                                                      JURISDICTION

                         2.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

         §§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

         Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

         pursuant to 28 U.S.C. §§ 157(b)(2), and the Court may enter a final order consistent with Article

         III of the United States Constitution. Venue is proper in this Court and in this District pursuant

         to 28 U.S.C. § 1410. The statutory predicates for the relief requested herein are sections 105,

         1507, 1521, 1525, and 1527 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

         “Bankruptcy Code”).4

         4
                All references to “section” in this Motion shall be to the Bankruptcy Code, unless otherwise noted.


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                                          GENERAL BACKGROUND

                        3.     On December 23, 2011 (the “Petition Date”), the Debtor commenced the

         Canadian Proceeding, and the Canadian Court entered the Initial Order, pursuant to the CCAA,

         providing various forms of relief thereunder.

                        4.     Also on the Petition Date, the Foreign Representative commenced this

         proceeding by filing a verified petition on behalf of the Debtor, pursuant to sections 1504 and

         1515 of the Bankruptcy Code, seeking recognition by this Court of the Canadian Proceeding as a

         “foreign main proceeding” under chapter 15.

                        5.     On January 20, 2012, this Court entered the Order Granting Final Relief

         in Aid of Canadian Proceeding Pursuant to Section 105(a), 1517, 1520, and 1521 of the

         Bankruptcy Code [Docket No. 44] (the “Recognition Order”). Pursuant to the Recognition

         Order, this Court (a) granted recognition of the Canadian Proceeding as a “foreign main

         proceeding” under section 1517 and (b) enforced in full the Initial Order on a permanent basis in

         the United States, including, without limitation, any extensions of the Stay Period granted by the

         Canadian Court.

                        6.     On April 26, 2012, this Court entered the Order Enforcing Financing

         Order of the Canadian Court [Docket No. 111] (the “U.S. Financing Order”), which, among

         other things, (a) recognized and enforced the CCAA Financing Order of the Canadian Court,

         issued on April 16, 2012 (the “CCAA Financing Order”), including any amendments thereto,

         approving the Senior Secured Credit Agreement (as amended, the “DIP Credit Agreement”) and

         (b) granted to, and for the benefit of, the DIP Lender certain protections afforded by the

         Bankruptcy Code.




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                        7.     On June 19, 2013, this Court entered the Order Recognizing the

         Additional Financing Order of the Canadian Court [Docket No. 125] (the “First Additional U.S.

         Financing Order”), which, among other things, recognized and enforced the Additional CCAA

         Financing Order of the Canadian Court, issued on June 5, 2013 (the “First Additional CCAA

         Financing Order”), including any amendments thereto, approving the Second DIP Amendment

         (as defined in the First Additional U.S. Financing Order).

                        8.     On April 28, 2014, this Court entered the Order Recognizing the Second

         Additional CCAA Financing Order [Docket No. 138] (the “Second Additional U.S. Financing

         Order”), which, among other things, recognized and enforced the Second Additional CCAA

         Financing Order of the Canadian Court, issued on April 14, 2014 (the “Second Additional

         CCAA Financing Order”), including any amendments thereto, approving the Third DIP

         Amendment (as defined in the Second Additional U.S. Financing Order).

                        9.     On February 3, 2015, this Court entered the Order Recognizing Approval

         Order [Docket No. 162] (the “Third Additional U.S. Financing Order”), which, among other

         things, recognized and enforced the Approval Order of the Canadian Court, issued on December

         18, 2014 (the “Third Additional CCAA Financing Order”), including any amendments thereto,

         approving the Fourth DIP Amendment (as defined in the Third Additional U.S. Financing

         Order).

                        10.    On December 27, 2016, this Court entered the Order Recognizing and

         Enforcing the CCAA Extension and Amendment Order [Docket No. 184] (the “U.S. Extension

         and Amendment Order”), which, among other things, recognized and enforced the Order of the

         Canadian Court, issued on December 14, 2016 (the “CCAA Extension and Amendment Order”)




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         approving the Extension and Amendment (as defined in the U.S. Extension and Amendment

         Order).

                        11.    On June 23, 2017, this Court entered the Order Recognizing and

         Enforcing the CCAA Second Extension and Amendment Order [Docket No. 189] (the “U.S.

         Second Extension and Amendment Order”), which, among other things, recognized and enforced

         the Order of the Canadian Court, issued on May 25, 2017 (the “CCAA Second Extension and

         Amendment Order”) approving the Second Extension and Amendment (as defined in the U.S.

         Second Extension and Amendment Order).

                        12.    On February 15, 2018, this Court entered the Order Recognizing and

         Enforcing the CCAA Bridge DIP Loan Order [[Docket No. 251] (the “U.S. Bridge Loan Order”),

         which, among other things, recognized and enforced the Order of the Canadian Court, dated

         December 20, 2017 approving the Bridge Loan Agreement and the Seventh Amendment

         Agreement (as such terms are defined in the U.S. Bridge Loan Order).

                        13.    Additional information about the Debtor’s business and operations, the

         events leading up to the Petition Date, and the facts and circumstances surrounding the Canadian

         Proceeding and this chapter 15 case are set forth in the Fung Declaration.

                        BACKGROUND SPECIFIC TO THE RELIEF REQUESTED

                        14.    The Debtor asserted a claim through arbitration against the Bolivarian

         Republic of Venezuela (“Venezuela”), under which the Debtor claimed damages substantially

         exceeding the amount of the Debtor’s outstanding debt (the ”Arbitration Claim”).             The

         Arbitration Claim was pursued in a proceeding before the Additional Facility of the International

         Centre for the Settlement of Investment Disputes of the World Bank (the “Arbitral Tribunal”)

         against Venezuela pursuant to a bilateral investment treaty between Canada and Venezuela.


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         Post-closing briefs were submitted to the Arbitral Tribunal on May 12, 2014. Subsequent to the

         submission of the post-closing briefs, the Arbitration Tribunal requested additional

         documentation and briefing submissions on at least two separate occasions from the Debtor and

         held an impromptu hearing in November 2014. On April 4, 2016, the Arbitral Tribunal issued an

         award to the Debtor against Venezuela. The award was in the amount of US $1.202 billion, plus

         interest thereon calculated from April 13, 2008 (the “Award”). The Award is the Debtor’s

         primary asset.

                          15.   The Debtor had been pursuing a dual-track approach, seeking recognition

         and enforcement of the Award while concurrently attempting to negotiate a resolution of the

         Award with Venezuela. As part of such efforts, the Debtor reached a voluntary settlement with

         Venezuela in November of 2017. The Debtor continues to pursue its rights under the settlement

         and, at the same time, is prepared to pursue other remedies should Venezuela breach any of its

         payment obligations under the settlement with the Debtor.

                          16.   To date, the Debtor has received $25 million from Venezuela pursuant to

         the aforementioned settlement and another $19 million of gross proceeds as a result of a

         settlement reached with Huntington Ingalls Incorporated (“Ingalls”). Pursuant to the DIP Credit

         Agreement, the Bridge Loan and orders of the Canadian Court, funds received by the Debtor

         were to be applied in accordance with the terms and conditions of the DIP Credit Agreement.

         With the receipt of those funds, the Debtor has repaid the Bridge DIP Loan in full, including any

         and all accrued interest, fees and costs, and, accordingly, the Bridge DIP Loan has been

         terminated in accordance with its terms.

                          17.   In order to continue to pursue its rights under the settlement with

         Venezuela and in light of the April 30, 2018 maturity date of the DIP Credit Agreement, the


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         Debtor requested and obtained (i) approval, pursuant to the CCAA Fifth Extension and Ninth

         Amendment Order, of a further amendment (the “Ninth Amendment Agreement”) to the DIP

         Credit Agreement that, among other things, extends the maturity date of the DIP Credit

         Agreement to October 31, 2018, and (ii) an extension of the Stay Period, which was set to expire

         on April 30, 2018, to and including October 31, 2018.

                        18.      The Debtor has been utilizing the funds provided pursuant to the DIP

         financing orders, including the Bridge Loan Agreement, to meet its obligations and to pursue its

         strategy related to the collection and enforcement of the Award, including as that strategy relates

         to the settlements reached with Venezuela and Ingalls. The Debtor has determined that it has

         sufficient funds to continue to pursue its rights under the settlement with Venezuela until at least

         October 31, 2018.

                        19.      The key provisions of the CCAA Fifth Extension and Ninth Amendment

         Order are as follows:

                        (a)      Aid and Recognition. The Canadian Court requests the aid and
                                 recognition of this Court to give effect to the CCAA Fifth Extension and
                                 Ninth Amendment in this proceeding. (CCAA Fifth Extension and Ninth
                                 Amendment Order ¶ 15).

                        (b)      Extension of Stay. The Stay Period has been extended to October 31,
                                 2018. (CCAA Fifth Extension and Ninth Amendment Order ¶ 3).

                        (c)      Bridge DIP Lenders’ Charge Discharged. The Bridge DIP Lender’s
                                 Charge is discharged. (CCAA Fifth Extension and Ninth Amendment
                                 Order ¶ 4).

                        (d)      Approval of Ninth Credit Agreement Amendment Terms. The Debtor
                                 is authorized to enter into the Ninth Credit Agreement Amendment,
                                 which, among other things, extends the maturity date of the DIP Credit
                                 Agreement to October 31, 2018, and the terms of the Ninth Credit
                                 Agreement Amendment are approved. (CCAA Fifth Extension and Ninth
                                 Amendment Order ¶¶ 5 & 6).



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                       (e)    Extension and Amendment Fee. No extension or amendment fee is
                              being paid pursuant to the terms of the Ninth Credit Agreement
                              Amendment.

                       (f)    Charges. The charge on the property of the Debtor to secure all
                              obligations under the DIP Credit Agreement and related documents (the
                              “DIP Charge”) and the charge on the property of Debtor to pay the
                              compensation payable to the DIP Lender under the DIP Credit Agreement
                              (the “Lender Additional Compensation Charge”) will continue to secure
                              the obligations of the Debtor under the DIP Credit Agreement, as amended
                              by the Ninth Credit Agreement Amendment. (CCAA Fifth Extension and
                              Ninth Amendment Order ¶8)

                       (g)    Confidentiality. The Canadian Court ordered that all materials filed in
                              connection with the Debtor’s application seeking the Canadian Court’s
                              entry of the CCAA Fifth Extension and Ninth Amendment Order labelled
                              “Confidential” be sealed and not form any part of the public record.
                              Additionally, the sealed materials shall not be copied or disseminated
                              beyond counsel or experts previously authorized or to be authorized by the
                              Debtor or by further order of the Canadian Court. (CCAA Fifth Extension
                              and Ninth Amendment Order ¶¶ 11 & 12)

                                            RELIEF REQUESTED

                       20.    By this Motion, the Foreign Representative seeks entry of the Proposed

         Order, substantially in the form annexed hereto as Exhibit I, recognizing and enforcing the

         CCAA Fifth Extension and Ninth Amendment Order.

                                             BASIS FOR RELIEF

         A.     Recognition of the CCAA Fifth Extension and Ninth Amendment Order
                Is Appropriate Under Sections 105, 1507, 1521, 1525, and 1527

                       21.    Section 105(a) provides a bankruptcy court with broad powers in its

         administration of a case under the Bankruptcy Code: “[t]he court may issue any order, process,

         or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

         Code].” Id. at § 105(a). Provided that a bankruptcy court does not employ its equitable powers

         to achieve a result not contemplated by the Bankruptcy Code, the exercise of its section 105(a)

         power is proper. In re Fesco Plastics Corp., 996 F.2d 152, 154 (7th Cir. 1993); Pincus v.


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         Graduate Loan Ctr. (In re Pincus), 280 B.R. 303, 312 (Bankr. S.D.N.Y. 2002). In addition,

         section 1521(a) provides that, upon recognition of a foreign proceeding, at the request of a

         foreign representative, a bankruptcy court may grant “any appropriate relief,” subject to certain

         exceptions not applicable here, provided that the bankruptcy court determines that doing so is

         necessary to effectuate the purpose of chapter 15 of the Bankruptcy Code and to protect the

         assets of the debtor or the interests of the creditors. See 11 U.S.C. § 1521(a).

                        22.     Recognition of the CCAA Fifth Extension and Ninth Amendment Order is

         appropriate under sections 105 and 1521 because it will enable the Debtor to continue its strategy

         related to the enforcement and collection of the Award, including as it relates to the recent

         settlement with Venezuela, and is similar to relief routinely granted to debtors in domestic

         proceedings. If this Court does not recognize the CCAA Fifth Extension and Ninth Amendment

         Order, the Debtor’s ability to continue its collection and enforcement strategy with respect to the

         Award would be jeopardized. Such a result clearly would be to the detriment of the Debtor’s

         stakeholders given the fact that the Award represents the only presently available chance that any

         party (including the DIP Lender and unsecured creditors in the United States) has at a

         meaningful recovery in the Canadian Proceeding. In addition, approval by this Court is a

         condition precedent under the Ninth Credit Agreement Amendment. Accordingly, the relief

         requested herein is consistent with well-established policies underlying the Bankruptcy Code and

         is appropriate under the circumstances.

                        23.     Similarly, section 1507 provides that “the court, if recognition is granted,

         may provide additional assistance to a foreign representative under this title” and “shall consider

         whether such additional assistance, consistent with the principles of comity, will reasonably

         assure . . . the just treatment of all holders of claims against or interests in the debtor’s property


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         [and] the protection of claim holders in the United States against prejudice and inconvenience.”

         11 U.S.C. § 1507. Recognition of the CCAA Fifth Extension and Ninth Amendment Order is

         appropriate under section 1507 because it will enable the Debtor to continue pursuit of the

         Award, which not only represents a major victory for the Debtor, but also, as stated above,

         represents the only chance that any interested party has at a meaningful recovery.         Thus,

         recognition of the CCAA Fifth Extension and Ninth Amendment Order will protect, and prevent

         prejudice to, creditors by ensuring that the Debtor can pursue its dual track approach to

         maximize value and realize on the Award.

                       24.     Finally, section 1525(a) of the Bankruptcy Code provides that “consistent

         with section 1501, the court shall cooperate to the maximum extent possible with a foreign court

         or a foreign representative,” and section 1527(3) of the Bankruptcy Code explicitly provides that

         one form of cooperation may include “coordination of the administration and supervision of the

         debtor’s assets and affairs.” 11 U.S.C. §§ 1525(a) & 1527(3). There can be no doubt that

         recognition of the CCAA Fifth Extension and Ninth Amendment Order will promote cooperation

         between the Canadian Court and this Court. Failure to grant recognition to the CCAA Fifth

         Extension and Ninth Amendment Order could undermine the Canadian Court’s ability to

         effectively supervise the Debtor’s restructuring path. Moreover, the CCAA Fifth Extension and

         Ninth Amendment Order specifically requests this Court’s aid and assistance in giving effect to

         the CCAA Fifth Extension and Ninth Amendment Order. (CCAA Fifth Extension and Ninth

         Amendment Order ¶ 15).




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         B.      Recognition of the CCAA Fifth Extension and Ninth Amendment Order
                 Is Consistent with Public Policy

                         25.     Pursuant to section 1506 of the Bankruptcy Code, even if chapter 15 of the

         Bankruptcy Code’s requirements for recognition of a foreign order are satisfied, recognition can

         nevertheless be denied where it would be “manifestly contrary to the public policy of the United

         States.” 11 U.S.C. § 1506. This “public policy” exception has been narrowly construed to apply

         to only those “matters of fundamental importance to the [United States].” See, e.g., In re

         Ephedra Prods. Liability Litig., 349 B.R. 333, 336 (S.D.N.Y. 2006) (affirming a decision of the

         bankruptcy court recognizing a Canadian claims process that did not provide personal injury

         claimants with the right to a jury trial).

                         26.     Recognition of the CCAA Fifth Extension and Ninth Amendment Order

         does not contravene United States public policy. The Foreign Representative submits that:

         (a) the Debtor has a need for entering into the Ninth Credit Agreement Amendment and further

         amending the DIP Credit Agreement, especially in light of the pending maturity of the DIP

         Credit Agreement; (b) the Canadian Court, as the court of primary jurisdiction, has already

         reviewed the Ninth Credit Agreement Amendment and has determined that the terms and

         conditions thereof are fair and reasonable; (c) the relief requested herein is appropriate,

         authorized under the Bankruptcy Code, and is in the best interests of the Debtor, its creditors,

         and other parties in interest; and (d) the relief requested herein is not manifestly contrary to

         United States public policy. Accordingly, section 1506 of the Bankruptcy Code presents no

         barrier to entry of the Proposed Order, and the Foreign Representative respectfully requests that

         this Court enter such order.




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                                      REQUEST FOR WAIVER OF STAY

                        27.     The Foreign Representative respectfully requests a waiver of any stay of

         effectiveness imposed by the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

         or the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

         for the District of Delaware (the “Local Rules”) so that the relief requested herein can take effect

         immediately upon entry of the Proposed Order.

                                                     NOTICE

                        28.     The Foreign Representative will provide notice of this Motion in

         accordance with Local Rule 9018-1(b) and this Court’s Order Specifying Form and Manner of

         Service of Notice of: (I) Filing of (A) Petition Pursuant to Chapter 15 of the Bankruptcy Code,

         and (B) Motion for Provisional and Final Relief in Aid of Foreign Proceeding Pursuant to

         Sections 105(a), 1519, 1520, and 1521 of the Bankruptcy Code; (II) Entry of Provisional Relief

         Order; (III) Deadline to Object to Entry of Recognition Order; and (IV) Hearing for the Court to

         Consider Chapter 15 Petition and Entry of Recognition Order [Docket No. 21]. The Foreign

         Representative submits that no other or further notice of this Motion is necessary or required.




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                                                 CONCLUSION

                        WHEREFORE, the Foreign Representative respectfully requests that this Court

         enter the Proposed Order, substantially in the form annexed hereto as Exhibit I.

         Dated: June 4, 2018                    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
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